FORM LDOL 77 (R 7/98)

1. NAME KEITH DOWLING

SEPARATION NOTICE ALLEGING DISQUALIFICATION

3. SEPARATION DATE 07/30/01

2 sno, S50

4. DATEHIRED 02/16/01 5. DATE LAST WORKED

:

PLEASE PROVIDE DETAILED EXPLANATION for item checked below. Should this individual file a claim for unemployment insurance
benefits complete facts will enable this agency to make an equitable decision.

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6. REASGN FOR LEA

01 XX). Voluntary Leaving (Quit)

02 |_] Discharge, (Fired)

03 |] Lack of Work (R.I.F)

04! | Leave of Absence

05 |_] Not Physically Able to Work
-06 | | School Employee Contract -
07 |] Refused Other Suitable Work
08 :..| Labor Dispute

09 _| Retirement, Pension

Microtilm Reference Number

DO NOT WRITE IN THIS SPACE

7. VACATION/SEVERANCE/DISMISSAL/BONUS/HOLIDAY PAY
INFORMATION. The employee received or will receive:

( ) Vacation ___ week(s)
( ) Severance/Dismissal $ ______ week(s)
( ) Bonus $____—s« Week pd.
( ) Holiday Pay $ week(s)

Lump sum ( ) vacation ( ) accrusd leave

10 _} Other ( ) severance/dismisszl pay { ) bonus
( ) holiday pay (| ) other rernuneracion
covered a period of —_ . weekis)
EXPLANATION:

EXHIBIT

13

| certify that the worker whose name and social security number appear above has: been separated from work and that the above information is .
true and correct. | further certify that the individual named above has been handed or mailed a copy of this notice.

g, ST. TAMMANY PARISH SHERIFF'S OFFICE 985-645-2615 10. 314908
Employer Name Phons-Area Code & No. Employer Acct. No.
11,_PsO. BOX 1229 SLIDELL La 12. 70458
Address”. Street/Box Cliy State Zip Code
4 u .
19. A eH fy koe KAY) 14, HUMAN RESOURCES MANAGER 45, 07/20/01
NO Title , Date

Signature

FILL OUT IN FRIPLICATE. MAIL ORIGINAL TO - Administrator, Louisiana Departrnent of Labor, Post Office Bex 94094, Baton Rouge, LA
70804-9094, WITHIN 72 HOURS after separation. Give the employee copy to the worker within 72 hours and retain the employer copy for your

files.

Failure to submit this notice within the specified time limits may forfeit: your right to appeal. It must be submitted within 72 hours after

the worker’s separation from employ.

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SEPARATION NOTICE ALLEGING DISQUALIFICATION

1. NAME KEITH E. DOWLING 2. SS NO. 0390

3. SEPARATION DATE __ 98/18/09 4. DATE HIRED___11/29/02 5. DATE LAST WORKED__98/14/0

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PLEASE PROVIDE DETAILED EXPLANATION for item checked below. Should this individual file a claim for unemployment insprance
benefits complete facts will enable this agency to make an equitable decision.

6. REASON FOR LEAVING

Microfilm Reference Number

01 CJ Voluntary Leaving (Quit)
02 X] Discharge, (Fired)

03 L] Lack of Work (R.LF.)
04 L] Leave of Absence DO NOT WRITE IN THIS SPACE

05 L] Not Physically Able to Work
7. VACATION/SEVERANCE/DISMISSAL/BONUS/HOLIDAY PAly

06 UO School Employee Contract INFORMATION. The employee received or will receive:
07 L] Refused Other Suitable Work Vacation $ week(s)
Severance/Dismissal $ week(s) pe
08 L] Labor Dispute Bonus $ week pd
Holiday Pay $ week(s)

09 CJ Retirement, Pension

10 L_] Other Lump sum[_]vacation [_] accrued leave
severance/dismissal pay[ | bonus
[ ] holiday pay |_| other remuneration
covered a period of_________week(s),
EXPLANATION:

SOP.2550:01.100 - USE OF FORCE

| certify that the worker whose name and social security number appear above has been separated from work and that the above inférmation
is true and correct. | further certify that the individual named above has been handed or mailed a copy of this notice.

g ST TAMMANY PARISH SHERIFF'S OFFICE 9. 985-726-7702 10. 314008
Employer Name Phone-Area Code & No. Employer Acct. No.
41,__P.O. BOX 1229 SLIDELL LA 12. 70459
Address Street/Box City State Zip Code
13. Qt { Work 14, HUMAN RESOURCES SPECIALIST 45, 08/18/09
() Signature | Title Date

FILL OUT IN TRIPLICATE. MAIL ORIGINAL TO - Administrator, Louisiana Department of Labor, Post Office Box 94094, Baton Rolve, LA
70804-9094, WITHIN 72 HOURS after Separation. Give the employee copy to the worker within 72 hours and retain the employer copy for your

files. You may re-order this LDOL 77 form by telephone: (225)342-2861 or (225) 342-2811.

Failure to submit this notice within the specified time limits may forfeit your right to appeal. It must be submitted within 72 houts after
the worker's separation from employment. This LDOL 77 form is available on our website: www.laworks.net

ST. TAMMANY PARISH SHERIFF'S OFFICE
EMPLOYEE COUNSELING FORM

Employee Name: Keith Dowling Rank: Deputy
Division: Criminal Patrol Department: 35
Date of Incident: 08/06/2009 Time of Incident: Approx. 12:00hrs

Reason for counseling:

( ) _INSUBORDINATION (. ) DISRUPTIVE WORK BEHAVIOR

(| ) EXCESSIVE ABSENCES OR LATENESS (XX) __ VIOLATION OF RULES/POLICY

( ) VIOLATION OF SAFETYRULES ( ) COMPLIMENT as

(| ) REFUSAL TO PERFORM ASSIGNED WORK (_) OTHER BT S70?
(. ) UNSATISFACTORY WORK PERFORMANCE ge!

Reason for counseling:

( ) WARNING (X) DISCHARGE
( ) SUSPENSION (| ) COMMENDATION
Nature of incident:

Please describe in a complete but concise manner, exactly what behavior the deputy displayed which caused this counseling form to be issued. Plqase
provide all relevant information, including names and dates.

On August 13, 2009 Dy. Chief Oswald and Major Lentz entertained a complaint from a citizen abqut an
incident involving Dy. Keith Dowling. Our complainant was a 60 year old disabled white female. |This
individual’s disability was quite evident. She had a stoma in her throat. Inserted in the stoma was a
plastic piece that when she spoke required her to place her hand on the device to allow air to enter her

throat.

This lady stated that on August 6 she was traveling through Abita Springs when she was apparé ntly
involved in a minor traffic Incident. She was pulled over by Dy. Dowling on Hwy 36 near the Fire}
Department. Once she was pulled over, according to her, she was immediately handcuffed behirjd her
back and placed in the back of Dy. Downling’s police car. She was later unhandcuffed and givenja
ticket for failure to yield and sent on her way.

Major Lentz conducted an investigation into the incident and learned that our complainant was ir} Abita
Springs on the day in question. She was traveling down Melissa Drive when she approached the
intersection of Hwy 36. When she turned onto Hwy 36, she did not see a motorcycle approachirg.
The motorcycle had to take evasive action to avoid colliding with our complainant. The evasive action
included “laying the bike down”. The driver of the motorcycle received minor abrasions as a reswit. It
should be noted that there was no contact between the two vehicles. A witness observed the in¢ident

and followed our complainant down Hwy 36. The witness observed Dy. Dowling shooting radar an

and conducted a traffic stop on the vehicle. Dy. Dowling has admitted to his supervisors that he di
indeed handcuff this lady behind her back but according to him moved the handcuffs to the front

brought the traffic incident to his attention. Dy. Dowling then immediately went after our at he i

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hile

he conducted his investigation. It should also be noted that the vehicle our complainant was driving

displayed a handicap Mississippi license plate.
The Sheriffs Office Use of Force police (SOP.2550:01.100) states the following:

"It shall be the policy of this agency that officers will use only the force that is reasonable to the

circumstances to effectively bring an incident under control, while protecting the lives and safety pf the
officers and others. This policy, in no way, enlarges a STPSO deputy’s civil or criminal liability ana\ does

not hold a deputy to a higher standard of safety, care or performance than required by law. Since

no

document can address every contingency which may arise in law enforcement, situations may oc¢ur
that will call for the reliance of the deputy’s training, experience, and intuition, as well as the careful

and thoughtful application of professional discretion.

The result of our investigation reveals that this was a minor traffic accident, our complainant wasjnot

aware that she was involved in an incident. When stopped by Dy. Dowling, he should have easily
recognized the handicap license plate displayed on the vehicle. If he would have asked the basic

traffic accident investigation questions, he would have easily recognized that the driver was disabjed

and needed her hands to speak through a stoma. Instead, Dy. Dowling placed handcuffs on the jady

and placed her in the back seat of his police car. As the last sentence of the quoted policy above

states, “...careful and thoughtful application of professional discretion” was not used in this incident.

Therefore, Dy. Dowling has violated several sections of D.R. 03:09.500 to include but not limited fo

Discourteous treatment of the public, incompetence, and unprofessional conduct. All of these
violations are a group three offense.

In reviewing with Human Resources, Dy. Dowling’s personnel folder reveals the following disciplinary achion
taken against him:

e 6/23/09 — General Regulations: 7:100.325 — Vehicle use — Warning- Damaged passenger side mirror on his gar

4/23/09-5/9/09 — DR.03.09:957 — Willful disregard of Agency rules... - he failed to qualify w/his weapon —
Suspended 40 hours
e 5/10/09 — DR.03.09:955 — Criminal/Immoral Conduct — Disturbance between Det. Dowling and his wife —

Suspended 40 hours
6/29/09 — DR.O3.08.000 — Unbecoming conduct by STPSO employee - Major Lentz memo to Det. Dowling

e
e 2/09/09 — Put on Administrative Leave w/o pay

Ss

With this being Dy. Dowling’s third group three offense in the past four months, effective immediately Dy.)Keith

Dowling is terminated from employment with the St. Tammany Parish Sheriff's Office.

Corrective action to be taken:
What steps will employee to take to correct their inappropriate work behavior?

The employee is terminated from the St. Tammany Parish Sheriff’s Office

Employee’s comments:

(_) _ Lagree with the action taken for the following reason(s): (_) _ I disagree with the action taken for the following reason(s):

Acknowledgement:
I acknowledge that I have today received counseling and I have been advised of the following rights:

A written record of reprimand/counseling shall be maintained.
I have the right to review the record and respond in writing.

The form shall become a part of my personnel file.
I am required to acknowledge this report by signing below.

“TWeVR 08-14-04 [ies <i UAK alm log
Deputy’s Sigpature — Date Supervisor's Signatu Date

The above offense(s) or commendation has been noted and are made a part of the above deputy’s personnel

Cont, mnctct Ly nS y Ela

Human Resources Manager Date

Prior counseling record:

DATE: COUNSELING ACTION:
DATE: COUNSELING ACTION:
DATE: COUNSELING ACTION:

ORIGINAL TO HUMAN RESOURCES / COPY TO EMPLOYEE / COPY TO SUPERVISOR

St. Tammany Parish Sheriff's Office
Chapter 08 Section 2550 Part 01

HOME USE OF FORCE - Procedures
PURPOSE OF POLICY SOP.2550:01.100

It shall be the policy of this agency that officers will use only the force
that is reasonable to the circumstances to effectively bring an incident
under control, while protecting the lives and safety of the officers and
others. This policy, in no way, enlarges a STPSO deputy’s civil or
criminal liability and does not hold a deputy to a higher standard of
Safety, care or performance than that required by law. Since no
document can address every contingency which may arise in law
enforcement, situations may occur that will call for the reliance of the
deputy’s training, experience, and intuition, as well as the careful and
thoughtful application of professional discretion.

DEFINITIONS SOP.2550:01.200

A. Use of Force: The amount of effort required by police to compel
compliance by an unwilling subject.

B. Resistance: The subject's attempt to evade an officer's attempt to
control.

C. Control: The method an officer uses to neutralize the unlawful
actions and to apprehend a subject.

D. Reasonable Belief: When facts or circumstances the deputy knows,
or should know, are such as to cause an ordinary and prudent
person to act or think in a similar way under similar circumstances.
Reasonableness regarding use of force must be judged from the
perspective of a reasonable officer on the scene at the time a
decision is needed.

E. Physical force: Any physical actions by one or more officers (e.g.,
holding, restraining, pushing, pulling) that does not include the use of
any weapon or deadly force.

F. Great bodily harm: bodily injury which creates a substantial risk
of death or which is likely to cause serious permanent

disfigurement or extended impairment of the function of any body
member or organ.

DEFINITIONS, CONTINUED SOP.2550:01.200

Revised Document 06 21 05

St. Tammany Parish Sheriff's Office
Chapter 03 — Section 09

HOME
DISCIPLINE

DISCIPLINARY AUTHORITY

DR.03:09.500.

1. Employees may be reduced in pay or position, suspended, terminated or
otherwise disciplined by the Sheriff, or his designee, at their discretion,
for, among other reasons:

dishonesty,
(discourteous treatment of the > public, >
disloyalty to the STPSO,

disruptive, or abusive behavior

excessive tardiness and/or absenteeism

immoral conduct

inefficiency

insubordination

job inefficiency,

neglect of duty,

possession, manufacture, distribution, sale, transfer, or use of
alcohol or illegal drugs on duty, or while operating vehicles or

equipment owned by the STPSO,

possession, manufacture, distribution, sale, transfer, or use
illegal drugs off duty,

sexual harassment,

New Document: 08 15 01 Revision Effective: 12 12 07

St. Tammany Parish Sheriff's Office

Chapter 03 — Section 09
HOME
DISCIPLINE
DISCIPLINARY AUTHORITY continued
R.03:09.500.

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unauthorized disclosure of confidential information,

effiprofessional conduct, >

violation of Agency regulations,

violation of state or federal criminal laws,
violations of safety rules,
any other failure of good behavior

any other act of misfeasance, malfeasance, or nonfeasance in
office, or

any act impairing the efficiency or reputation of the Agency, its
members, or Deputies.

2. The Sheriff, or his designee, should investigate the nature of alleged
infractions to determine if a violation of law or policy has occurred.

3. Employees must provide complete and accurate information during any
investigation.

New Document: 08 15 01 Revision Effective: 12 12 07

To Major Tim Lentz, August 14, 2009
I am respectfully submitting my letter of resignation as a Deputy Sheriff with the St.

Tammany Parish Sheriff's Office. I appreciate the opportunity that I had while employed
here.

Respectfully submitted,

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(Fc EF
DFC Keith Wowling #3220

